Case 3:18-cr-00097-RDM Document 64-3 Filed 06/15/20 Page 1 of 4

U.S. Customs and Border Protection

U.S. Department of Homeland Security
TECS - Secondary Inspection Report

02/27/2017 10:41 EST Generated By: BURKE, JEFFREY Page 1 of 4
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SIU, CHRISTOPHER 02/26/2017 19:36 EST Primary Airport
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fatto eee pere mee gee maeea Encounter - 63300760 _ :
Last Name First Name DOB
SIDIROPOULOU CHRISTINA BUCS
Carrier Code Flight / Vessel Number
TK - TURKISH AIRLINES 1
Hispanic Gender | Race | Travel Document Pi d | Lost / Stolen D
No F - Female W - WHITE | Yes | No
Doc Number Doc Type Issulng Country
P - PASSPORT GRC - GREECE __
State/Province Nationality City of Birth Country of Birth
| GRC _- GREECE Chorlagos Attiki GRC_- GREECE
Father’s Last Name Father's First Name Father's Middle Name =:
Mothers Last Name Mother's First Name Mother's Middie Name
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Secondary Officer Name Site Id
PEREA, SARA A477
Inspection Start Date and Time Inspection End Date and Time
02/26/2017 21:59 EST 02/26/2017 22:11 EST
Flight / Vessel Crew Inbound / Outbound
No I_- INBOUND
Departure / Destination =H
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Embarkation |
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No, of Passengers on Declaration Bag Exam Number of Bags X-Rayed
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No N_ - Negative No : No
Category
Violation Codes
Rel. D Number Create | Log |incident Log Report Numb J
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SAS Number IOEM Req 2 1OEM Numb
| No
| Referring Officer Code Reason for Referral Code
TTR - TACTICAL TERRORISM RESPONSE TEAM AUG - AUGMENTED PRIMARY REFERRAL
Baggage Inspection Complete Create PLOR : 2
Yes No -

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Case 3:18-cr-00097-RDM Document 64-3 Filed 06/15/20 Page 2 of 4

U.S. Customs and Border Protection
U.S. Department of Homeland Security
TECS - Secondary Inspection Report

02/27/2017 10:41 EST Generated By: BURKE, JEFFREY Page 2 of 4

Comments History

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Case 3:18-cr-00097-RDM Document 64-3 Filed 06/15/20 Page 3 of 4

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Nps TECS - Secondary Inspection Report
02/27/2017 10:41 EST Generated By: BURKE, JEFFREY Page 3 of 4

Entered By: PEREA, SARA | Created Date/Time: 02/26/2017 22:11 EST

JFK TTRT- Subject is an exact match to P3C51007900CPH due to her relationship
i\(girlfriend) to USC Ross William ROGGIO (12/05/1968) who is a match to P3C22703100CPH and
P5F15819800C96.
JTTF FBI S/A Douglas Vetrano and HSI $/A Mundy were on site to detain electronics for
both subjects.

|Please see 1025 for closeout on Ross William ROGGIO done by CBPO A. Morales (JFK TTRT).

Subject is a 25 year old female born inh me | Chorlargos, Attiki, Greece. |

Subject identified herself as an unemployed photographer and actress by profession who
use to live at home with her parents i emcee) Greece.

Sometime in early 2016 she met Ross William ROGGIO in Greece where he often visited; on

February 23, 2017 she moved to Sulaimaniyah Iraqui Kurdistan to work as ROGGIO's personal
assistant. She was asked what qualifications were requested of her to become his personal
assistant. Subject stated that he only requested she would be willing to travel and speak |
english. |

Subject stated that shortly after her arrival to Sulaimaniyah they became a couple (they
have been together as a couple for 8 months). She was very forth coming and stated they
have been inseparable since,

Subject stated that two of them have not been apart for more than five days since getting
together except for two weeks for Thanksgiving in November 2016. According to her, he
flew to the United States to spend Thanksgiving with his two children from his prior
marriage.

They lived together at Parki Daik Building 12 7th floor apartment 701 Sulaimaniyah,
Kurdistan Iraq. She described North Iraq as a very safe place because they even sell
alcohol. She stated that at no time did she fear for her safety at that at no time did
ROGGIO express to her that he feared for his life or safety. She also stated that nothing
eventful happened while they lived in Kurdistan for 11 months.

Subject stated that her duties as a personal assistant to ROGGIO were to do his laundry
and cleaning; at his office located at Baharan Residential Complex Building 13 floor 2,
Office 10 Sulaimaniyah Kurdistan Region she would file his paperwork and delegate work to
his staff on his behalf. She said their office hours were Monday through Friday from 8:00
jam until 5:00 pm.

Regarding ROGGIO's business she stated he has a consulting/construction business named
ROGGIO CONSULTING COMPANY at the office address listed above. According to her, he told
her he was a civil engineer by profession who graduated from MIT. She really didn't seem
to be too involved in his business dealings because her vocabulary was limited when she
spoke of the services that his business offered. She ended up saying that he gets to do
roads, hotels and makes projects happen. She could not come up with the name of one
Single project.

According to her in order for his business to be able to operate in Kurdistan he would
have to be sub contracted by a local business. The local business that contracted ROGGIO
CONSULTING COMPANY was ZARYA CONSTRUCTION whose offices are also in Sulaimaniyah
Kurdistan. As a matter of fact her Iraq/Kurdistan Residence Foreigner's Residence Card #
316890 list her employer as ZARYA CONSTRUCTION.

Subject stated she stopped working for her boyfriend ROGGIO about one month ago ana
she is currently unemployed
ROGGIO will cover all her expenses while in the U.S.

Their purpose of travel to the U.S. is to see ROGGIO's 93 year old father who is
hospitalized pending to be cleared from an infection in order to get surgery.

She did not know which hospital his father was hospitalized in. Subject stated the plan
was to leave JFK go straight to the hospital.

Subject stated that ROGGIO told her they would be staying in his old home located at 116
Turkey Hill Court Stroudsburg, PA. She also said they might stay with his parents who
live close by in Stroudsburg (this address she did not know) .

jShe said she is unsure of when they will leave the U.S. maybe a month or two depending on
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Case 3:18-cr-00097-RDM Document 64-3 Filed 06/15/20 Page 4 of 4

U.S. Customs and Border Protection

U.S. Department of Homeland Security
TECS - Secondary Inspection Report

02/27/2017 10:41 EST Generated By: BURKE, JEFFREY Page 4 of 4

how his father is doing. When they do go back she thinks they will either go back to
Greece or Sulaimaniyah.

|Subject said that she departed Sulaimaniyah bound for Greece to see her parents on the
23rd of February, 2017. She said that he Stayed in Sulaimaniyah to make sure all his
projects were completed. They then met up in Istanbul today to catch their flight TK 001
to JFK.

Subject stated that she does not recall her Kurdish mobile number. Her Greek mobile
number is +30 698 4812121. ROGGIO's Kurdish mobile number was +964 772 6159495. Her email
is ch.sidiropoulou@gmail.com.

Aside from her link to ROGGIO, no derogatory information was found on. Christina
SIDIROPOULOU at this time. Subject was found admissible, no grounds for inadmissibility
at this time. Bag exam was conducted. Admitted B2.

\JFK TTRT SCBPO Frewin was relayed all pertinent information.

Under HSI's border search authority, a total of three electronic devices (two mobile
phones and an I-POD) belonging to subject were detained by JFK HSI S/A Mundy.

Referral Reason History

Referred By:SIU, CHRISTOPHER | Referred Date/Time:02/26/2017 19:36 EST | Referred From:Primary Airport
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